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              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

________________________________
                                )
RONALD SUBER, JR.               )
                                ) CIVIL ACTION NO.: ______________
            Plaintiff,          )
                                )
     v.                         ) JURY TRIAL DEMANDED
                                )
COMMUNICATIONS TEST             )
DESIGN, INC. d/b/a CTDI         )
                                )
and                             )
                                )
ADECCO USA, INC.                )
                                )
            Defendants.         ) ELECTRONICALLY FILED
________________________________)


                                COMPLAINT

      Plaintiff, RONALD SUBER, JR., a resident of Chester County,

Pennsylvania, by and through his attorneys, brings this civil action for damages

against the above-named Defendants, COMUNICATIONS TEST DESIGNS, INC.

d/b/a CTDI and ADECCO USA, INC., demands a trial by jury, and complains and

alleges as follows:
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                           JURISDICTION AND VENUE

       1.     Jurisdiction of the claims set forth in this Complaint is proper in this

judicial district pursuant to the Americans with Disabilities Act, as amended, 42

U.S.C. §12101 et seq. (the “ADAAA”), 28 U.S.C. §§1331, 1343 and 1367, and the

Pennsylvania Human Relations Act (“PHRA”).

       2.     Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b)

because a substantial part of the events or omissions giving rise to these claims

occurred in this judicial district.

                                      THE PARTIES

       3.     Plaintiff, Ronald Suber, Jr. (hereinafter “Mr. Suber” or “Plaintiff), is

an adult individual residing at 414 Prospect Avenue, Coatesville, Chester County,

Pennsylvania.

       4.     Plaintiff is disabled as defined by the ADAAA.

       5.     Defendant,     Communications     Test   Design,   Inc.   d/b/a   CTDI

(hereinafter “CTDI”), is a full-service, global engineering, repair and logistics

company, incorporated in the Commonwealth of Pennsylvania, that provides best-

cost solutions to the communications industry, with its corporate headquarters

located at 1373 Enterprise Drive, West Chester, Chester County, Pennsylvania.

       6.     At all times relevant and material hereto, CTDI was an employer as

defined in the ADAAA and the PHRA.


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      7.     Defendant, Adecco USA, Inc. (hereinafter “Adecco” and collectively

with CTDI as “Defendants”), is a staffing company, incorporated in the State of

Delaware, that recruits and places temporary general labor, clerical, administrative,

light industrial, and technical professionals throughout the United States, with its

corporate headquarters located at 1051 Deerwood Park Boulevard, Jacksonville,

Duval County, Florida.

      8.     At all times relevant and material hereto, Adecco was an employer as

defined in the ADAAA and the PHRA.

      9.     At all times relevant and material hereto, CTDI was a client of

Adecco who provided on-site employment staffing/placement services.

                     ADMINISTRATIVE PROCEEDINGS

      10.    On or about March 22, 2017, Mr. Suber filed a Charge of

Discrimination with the Equal Employment Opportunity Commission (“EEOC”)

which was docketed as EEOC Charge 846-2017-09782, with instructions to be

cross-filed by the EEOC with the Pennsylvania Human Relations Commission for

purposes of dual filing.

      11.    Mr. Suber has been advised of his right to sue in federal court, which

notice was received on or about September 25, 2018.

      12.    All necessary and appropriate administrative prerequisites to this

action have occurred.


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                           STATEMENT OF FACTS

      13.   Beginning on or about August 11, 2016, Mr. Suber was employed by

Adecco, and placed with their employment staffing/placement client CTDI, as a

Picker/Packer and Machine Operator at their Coatesville, Pennsylvania facility

where cable boxes are tested.

      14.   Despite the fact that Mr. Suber is a disabled individual due to his

cerebral palsy diagnosis (a fact which was known to both Adecco and CTDI almost

immediately upon recruitment, hiring, and placement), he was able to perform the

essential functions of a Picker/Packer and Machine Operator without an

accommodation.

      15.   In or about October 2016, Mr. Suber was informed by Adecco’s

Human Resources that CTDI was experiencing a downturn in business, and that he

was being reassigned to a different position as a Tester, which would occasionally

require him to lift heavy boxes and load them onto carts.

      16.   Mr. Suber willingly excepted his new assignment, however, he was

confused and found it strange that CTDI was taking on new workers without

disabilities as Picker/Packers and Machine Operators, given CTDI’s claim that his

reassignment was necessary because CTDI had too many Picker/Packers and

Machine Operators given the downturn in business.




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       17.    Once again, Mr. Suber was able to perform the essential functions of

his new job as a Tester, however, at times he now required some additional time or

assistance on the occasions he needed to lift a heavy box and load it onto a cart as a

result of his limited ability to lift and place objects due to his cerebral palsy

disability.

       18.    Specifically, Mr. Suber would request some additional time or

assistance on the occasions he needed to lift a heavy box and load it onto a cart

from his CTDI supervisor, Steve Scannapieco, who would make the

accommodation by assigning coworkers to assist with lifting and placing the

heavier boxes in order to allow Mr. Suber to keep pace with production.

       19.    In an effort to be employed at CTDI without an accommodation, Mr.

Suber requested on multiple occasions to Jennifer (last name unknown) at Adecco,

between October and December 2016, that he be returned to his previous position

as a Picker/Packer and Machine Operator.

       20.    Despite these requests to Adecco, Mr. Suber was ignored, and

Defendants continued to use new workers without disabilities to perform his old

job as a Picker/Packer and Machine Operator.

       21.    On or about December 23, 2016, Mr. Scannapieco terminated Mr.

Suber explaining that he (Mr. Scannapieco) was unhappy with Plaintiff’s speed of

work and the rate of his production.


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      22.    Mr. Suber believes that he was reassigned by Defendants because of

his cerebral palsy disability and was terminated because Defendants no longer

wanted to provide him with his current accommodation of assigning coworkers to

assist with lifting and placing the heavier boxes, provide him with the reasonable

accommodation of being placed back in his former position as a Picker/Packer and

Machine Operator, and/or engage in the interactive process of working with Mr.

Suber to implement an alternative reasonable accommodation.

      23.    Adecco, as an onsite staffing agency, was at all times aware of,

responsible for, and/or involved in the decisions with regard to Mr. Suber’s

employment at CTDI, including but not limited to his recruitment, hiring,

placement, reassignment, accommodation requests and denials, and/or termination.

      24.    Mr. Suber could perform the essential functions of the Picker/Packer

and Machine Operator job without an accommodation and the essential functions

of the Tester job with the reasonable accommodation of assigning coworkers to

assist with lifting and placing the heavier boxes.

      25.    At all times, Defendants refused to engage in any good faith

interactive process with Mr. Suber to find a reasonable accommodation, including

placement in a position which he could physically perform either with or without

an accommodation.




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      26.    Defendants discriminated against Mr. Suber based upon his cerebral

palsy disability by reassigning him to be a Tester while placing new workers

without a disability in the Picker/Packer and Machine Operator job, failing to

engage in any good faith interactive process with Plaintiff to find a reasonable

accommodation, and subsequently terminating Plaintiff, all in violation of Mr.

Suber’s rights under the ADAAA and the PHRA.

                                      COUNT I

               Discrimination and Failure to Provide Reasonable
                   Accommodation Pursuant to the ADAAA
                         (Plaintiff v. All Defendants)

      27.    The averments of Paragraphs 1 through 26 above are incorporated by

reference as though fully set forth herein.

      28.    Mr. Suber is within the protective class of individuals as designated

by the ADAAA.

      29.    Mr. Suber is a qualified individual with a disability.

      30.    Mr. Suber’s cerebral palsy disability substantially limits his ability to

lift, carry and/or place objects, as well as walk.

      31.    Mr. Suber was able to perform the essential functions of his

Picker/Packer and Machine Operator job without an accommodation.




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      32.     Defendants violated the ADAAA by reassigning Mr. Suber to the job

of Tester while placing new workers without disabilities as Picker/Packers and

Machine Operators under the false pretext that Plaintiff was being reassigned from

this job, one that he could do without an accommodation, due to a downturn in

CTDI’s business.

      33.     Mr. Suber alleges that he was reassigned and replaced by other

workers because of his cerebral palsy disability.

      34.     Defendants further violated the ADAAA by refusing to allow Mr.

Suber to continue with an already reasonable accommodation or allow for an

alternative reasonable accommodation.

      35.     Specifically, on or about December 23, 2016, Mr. Scannapieco

terminated Mr. Suber because of Plaintiff’s occasional slower speed of work and

reduced rate of his production, an issue which was previously addressed by

allowing the accommodation of assigning coworkers to assist with lifting and

placing the heavier boxes in order to allow Mr. Suber to keep pace with

production.

      36.     Mr. Suber could perform the essential functions of the Tester job with

the reasonable accommodation of assigning coworkers to assist with lifting and

placing the heavier boxes in order to allow him to keep pace with production.




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      37.   Despite this otherwise available reasonable accommodation that was

previously allowed, Defendants elected to terminate Mr. Suber.

      38.   Moreover, Mr. Suber requested on multiple occasions that he be

returned to his previous position as a Picker/Packer and Machine Operator for

which CTDI was still placing new workers, an otherwise reasonable

accommodation under the ADAAA for an individual with a disability.

      39.   Mr. Suber could perform the essential functions of the Picker/Packer

and Machine Operator job without an accommodation.

      40.   Despite these requests, Mr. Suber was ignored and forced to remain as

a Tester without a reasonable accommodation, while Defendants continued to

place new workers without disabilities in his old job as a Picker/Packer and

Machine Operator.

      41.   Defendants further violated the ADAAA by refusing to engage in any

good faith interactive process with Mr. Suber to find a reasonable accommodation,

including placement in a position which he could physically perform either with or

without an accommodation.

      42.   As stated earlier, Mr. Suber believes that he was reassigned by

Defendants because of his cerebral palsy disability and was terminated because

Defendants no longer wanted to provide him with his current accommodation of

assigning coworkers to assist with lifting and placing the heavier boxes lifting and


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placing the heavier boxes, provide him with the reasonable accommodation of

being placed back in his former position as a Picker/Packer and Machine Operator,

and/or engage in the interactive process of working with Mr. Suber to implement

an alternative reasonable accommodation.

      43.    The illegal discrimination is based on whole or in part upon Mr.

Suber’s cerebral palsy disability.

      44.    As a direct and proximate result of Defendants’ conduct in violating

the ADAAA by discriminating against Mr. Suber on the basis of his cerebral palsy

disability, Plaintiff has been permanently and irreparably harmed and damaged and

has and will continue to lose benefits of employment such as lost earnings, lost

employment benefits, and non-economic damages in the form of embarrassment,

humiliation, and anxiety.

      WHEREFORE, Plaintiff, Ronald Suber, Jr., respectfully prays that judgment

be entered in his favor and against Defendants, Communications Test Design, Inc.

d/b/a CTDI and Adecco USA, Inc., for violation of his rights under the ADAAA

and award all compensatory damages, damages for failure to provide reasonable

accommodation, lost wages (and raises) and benefits, front pay and back pay, lost

future earning capacity, liquidated damages for intentional, willful, malicious,

reckless, outrageous conduct, damages for emotional distress, reasonable attorneys




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fees and costs incurred herein and any pre and/or post judgment interest on all

money awarded in damages for delay.

                                     COUNT II

                Discrimination and Failure to Provide Reasonable
                     Accommodation Pursuant to the PHRA
                           (Plaintiff v. All Defendants)

      45.    Paragraphs 1 through 44 above are incorporated herein by reference as

if more fully set forth at length.

      46.    This is an action arising under the provisions of the PHRA and this

Court has, and should exercise, pendant jurisdiction over the same because the

cause of action complained of in this Count II arises out of the same facts, events

and circumstances as Count I, and therefore judicial economy and fairness to the

parties dictates that this Count be brought in the same Complaint.

      47.    By discriminating against and failing to accommodate Mr. Suber on

the basis of his disability, Defendants violated his state rights under the PHRA,

which prohibits discrimination based upon a disability with respect to the

continuation and tenure of employment.

      48.    As more fully set forth in Count I, Mr. Suber has suffered directly and

solely as a result of Defendants’ action, great pecuniary loss, damage and harm and

will continue to suffer the same for the indefinite future.




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       WHEREFORE, Plaintiff, Ronald Suber, Jr., respectfully prays that judgment

be entered in his favor and against Defendants, Communications Test Design, Inc.

d/b/a CTDI and Adecco USA, Inc., for violation of his rights under the PHRA, and

award all of the relief sough in Count   1,   supra, and such other and further relief

provided by the PHRA, together with an award of attorneys’ fees and costs of suit.

                              DEMAND FOR JURY

       Pursuant to Federal Rule of Civil Procedure 38(b) and otherwise, Plaintiff

respectfully demands a trial by jury.


                                        Respectfully submitted,

                                        McCarthy Weisberg Cummings, P.C.

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